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CAUSE NO. 09-9989

MANUELA REYES . § INTHE DISTRICT COURT
§
Vs. § DALLAS COUNTY, TEXAS
§
KROGER TEXAS, LP § 160™ JUDICIAL DISTRICT

PLAINTIFE’S SECOND SUPPLEMENTAL RESPONSES AND OBJECTIONS
TO DEFENDANT'S FIRST REQUEST FOR ADMISSIONS
COMES NOW, MANUELA REYES, Plaintiff in the above-styled and numbered
cause and files this her Second Supplemental Responses and Objections to Defendant’s
First Request of Admissions, which were directed to Plaintiff and served upon her
attomey.
Respectfully submitted,

STOVALL & ASSOCIATES, P.C.

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State Bar No, 19337000

 

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ATTORNEYS FOR PLAINT IEF

PLAINTIFF'S 2™ SUPPLEMENTAL RESPONSES AND OBJECTIONS TO DEFENDANT'S
FIRST REQUEST FOR ADMISSIONS Page-1

 
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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing document
has forwarded to the following counsel of record via the following method on this
the 7! ‘day of NYA 2010:

Hailey Moore Weems VIA FAX: 214-999-0551
The Peavler Group

3400 Carlisle Street

Suite 430

Dallas, Texas 75204

 

PLAINTIFF'S 2" SUPPLEMENTAL RESPONSES AND OBJECTIONS TO DEFENDANT'S
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REQUEST FOR ADMISSIONS

 

REQUEST FOR ADMISSION NO.1:; Admit that you are seeking damages in excess of
$75,000.00, exclusive of interest and costs.

RESPONSE: While Plaintiff understands that the award of damages is a issue decided by
the jury, Plaintiff expects to seek damages in excess of $75,000.00, exclusive of interest
and costs.

REQUEST FOR ADMISSION NO.2: Admit that you are not seeking damages in excess
of $75,000.00, exclusive of interest and costs.

RESPONSE; While Plaintiff understands that the award of damages is a issue decided by
the jury, Plaintiff expects to seck damages in excess of $75,000.00, exclusive of interest
and costs.

REQUEST FOR ADMISSION NO.3: Admit that you have no personal knowledge
regarding the specific amount of time the substance was on the floor before your fall.

RESPONSE: Admit that Plaintiff does not have direct personal knowledge of exactly
how long the jelly, slippery substance was on the floor prior to her fall. However, it was
obviously there long enough to have congealed. For further information, please see
Plaintiffs deposition testimony and the testimony of fact witnesses which is incorporated
by reference herein.

REQUEST FOR ADMISSION NO.4: Admit that you are aware of no eyewitnesses who
saw the substance on the floor before your fall.

RESPONSE: Deny.

REQUEST FOR ADMISSION NO.5: Admit that you are aware of no photographs of the
substance on the floor that were taken before your fall.

RESPONSE: Deny.

REQUEST FOR ADMISSION NO.6: Admit that you are aware of no photographs of the
substance on the floor that were taken immediately before your fall.

RESPONSE: Plaintiff objects to the foregoing Request in that is premature and she will
not know the answer unti] discovery is completed in this case. ;

REQUEST FOR ADMISSION NO.7: Admit that you are aware of no photographs of the
substance on the floor that were taken immediately after your fall.

PLAINTIFF'S 2™ SUPPLEMENTAL RESPONSES AND OBJECTIONS TO DEFENDANT'S
FIRST REQUEST FOR ADMISSIONS Page -3

 

 

 
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RESPONSE: Plaintiff objects to the foregoing Request in that is premature and she will
not know the answer until discovery is completed in this case.

REQUEST FOR ADMISSION NO.8: Admit that you do not know how the puddle of

_ dirty liquid came to be on the floor.

RESPONSE: Admit that Plaintiff does not have direct personal knowledge of the exact
manner in which the dangerous condition was created. However, the congealed
substance has been identified by Defendant's employees as congealed chicken grease.
The grease would leak from the containers on display of roasted chicken and chicken
wings. For further information, please see Plaintiff's deposition testimony as well as the
deposition testimony of all fact witnesses which is incorporated by reference herein.

REQUEST FOR ADMISSION NO.9: Admit that you have no personal knowledge
regarding whether the substance was on the floor more than 10 minutes before your fall.

RESPONSE: Admit that Plaintiff does not have direct personal knowledge of exactly
how long the jelly, slippery substance was on the floor prior to her fall, However, it was —
obviously there long enough to have congealed. For further information, please see
Plaintiff's deposition testimony and the testimony of fact witnesses which is incorporated
by reference herein.

REQUEST FOR ADMISSION NO.10: Admit that you have no personal knowledge
regarding whether the substance was on the floor than 20 minutes before your fall.

RESPONSE: Admit that Plaintiff does not have direct personal knowledge of exactly
how long the jelly, slippery.substance was on the floor prior to her fall. However, it was
obviously there long enough to have congealed. For further information, please see
Plaintiff's deposition testimony and the testimony of fact witnesses which is incorporated
by reference herein.

REQUEST FOR ADMISSION NO. 11: Admit that you have no personal knowledge
regarding whether the substance was on the floor than 30 minutes before your fall.

RESPONSE: Admit that Plaintiff does not have direct personal knowledge of exactly
how long the jelly, slippery substance was on the floor prior to her fall. However, it was
obviously there long enough to have congealed, For further information, please see
Plaintiff’s deposition testimony and the testimony of fact witnesses which is incorporated
by reference herein.

REQUEST FOR ADMISSION NO. 12: Admit that you are aware of no witnesses who
have personal knowledge regarding whether the substance was on the floor more than 10
minutes before your fall.

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REQUEST FOR AD SIONS Page-4

 
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RESPONSE: Deny.

REQUEST FOR ADMISSION NO. 13: Admit that you are aware of no witnesses who
have personal knowledge regarding whether the substance was on the floor more than 20
minutes before your fall.

RESPONSE: Deny.

REQUEST FOR ADMISSION NO. 14: Admit that you are aware of no witnesses who
have personal lnowledge regarding whether the substance was on the floor more than 30
minutes before your fall,

RESPONSE: Deny.

REQUEST FOR ADMISSION NO. (5: Admit that you are not aware of any statements
by any Kroger employee (whether made before or after the incident at issue) that he or
she was aware that the substance was on the floor before your fall.

RESPONSE: Deny. .

REQUEST FOR ADMISSION NO. 16: Admit that you did not notice any footprints
(other than perhaps your own) through the substance that you claim cansed your fall. -

RESPONSE: Admit

REQUEST FOR ADMISSION NO. 18ie); Adnit that you have no personal knowledge
regarding how much time elapsed between the time a Kroger employee last inspected the
area in which you fell and the time that you fell. .

RESPONSE: Admit that Plaintiff has no direct personal knowledge. However, the
congealed substance has been identified by Defendant’s employees as congéaled chicken
grease. The grease would leak from the containers on display of roasted chicken and
chicken wings. For further information, please see Plaintiff's deposition testimony as
well as the deposition testimony of all fact witnesses which is incorporated by reference
herein.

REQUEST FOR ADMISSION NO. 19: Admit that you have no personal knowledge
regarding how much time elapsed between the time a Kroger employee last inspected the
area in which you fell and the time that the substance appeared on the floor.

PLAINTIFF'S 2°4 SUPPLEMENTAL RESPONSES AND OBJECTIONS TO DEFENDANT"S
FIRST REQUEST FOR ADMISSIONS - Page -5

 

 
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RESPONSE: Admit that Plaintiff has no direct personal knowledge. However, the
congealed substance has been identified by Defendant’s employees as congealed chicken
grease, The grease would leak from the containers on display of roasted chicken and
chicken wings. For further information, please see Plaintiff's deposition testimony as

well as the deposition testimony of all fact witnesses which is incorporated by reference
herein. -
REQUEST FOR ADMISSION NO. 20: Admit that Kroger had no actual knowledge of
the alleged “dangerous condition,”

RESPONSE: Deny.

REQUEST FOR ADMISSION NO.16(sic): Admit you sustained personal injuries to
your body from an incident(s) prior to and unrelated to the incident in question.

RESPONSE: Deny.

REQUEST FOR ADMISSION NO.17(sic): Admit that you sustained personal injuries to
your right knee from an incident(s) prior to and unrelated to the incident in question.

RESPONSE: Deny.

PLAINTIFF’S 2"* SUPPLEMENTAL RESPONSES AND OBJECTIONS TO DEFENDANT'S
FIRST REQUEST FOR ADMISSIONS ; Page - 6

 

 
